     Case 3:15-cr-01145-WQH Document 120 Filed 11/09/20 PageID.384 Page 1 of 1

                                UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                               Case No. lSCRl 145-WQH

                                           Plaintiff,
                        vs.
                                                               JUDGMENT OF DISMISS=AL~-~
JOSE FRANCISCO MADRID-SILVAS (2),                                                 [~ ! i
                                                                                  '       i '., ,..,
                                                                                                         r:: ;'')
                                                                                                         >,,.~,- ,_,_.,i
                                                                             ___.._.,,...,_.~,-•,._ __   .... ,._,_,.,,.,........

                                        Defendant.                                    NOV - 9 2020



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      an indictment has been filed in another case against the defendant and the Court has
 •    granted the motion of the Government for dismissal of this case, without prejudice; or

 •    the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal, without prejudice; or

 •    the Court has granted the motion of the defendant for a judgment of acquittal; or

 •    a jury has been waived, and the Court has found the defendant not guilty; or

 •    the jury has returned its verdict, finding the defendant not guilty;

      of the offense(s) as charged in the Indictment/Information:
      CNT 1: 21:841(a)(l),846; 21:853; CNT 2: 21:952,960,963; 21:853




 Dated:
                                                         Hon. William Q. H    s
                                                         United States Dis ct Judge
